        Case 8:04-cr-00563-SDM-TGW Document 120 Filed 05/10/05 Page 1 of 6 PageID 182
A 0 245B (Rev 11/03) Sheet 1 - Judgment in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DMSION



UNITED STATES OF AM ERICA                                     JUDGMENT IN A CRIMINAL CASE

                                                              CASE NUMBER: 8:04-cr-563-T-23MAP
                                                              USM NUMBER: 42472-018
VS.



JOSE GREGORIO TAPIAS-VERA
                                                              Defendant's Attorney: Ronald Marzullo, cja

THE DEFENDANT:

X pleaded guilty to counts ONE and TWO of the Indictment.

TITLE & SECTION                     NATURE O F OFFENSE                                   OFFENSE ENDED             COUNT

46 Appendix U.S.C. $9 1903(a),               Possession With Intent to Distribute 5     November 13, 2004          ONE
and 1903(g), 18 U.S.C. 5 2: and              Kilograms or More of Cocaine While
21 U.S.C. 5 960(b)(l)(B)(ii)                 Aboard Vcssels Subject to the Jurisdiction
                                             of the United States

46 Appendix U.S.C. $8 1903(a),               Conspiracy to Possess With Intent to      November 13, 2004           TWO
1903(g), and 1903(j); and 21 U.S.C.          Distribute 5 Kilograms or More of Cocaine
8 960@)( 1)(B)(ii)                           While Aboard Vessels Subject to the
                                             Jurisdiction of the United States

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.



IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution. costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                Date of In~positionof Sentmce: May 10, 2005




                                                                                                                                I
                                                                                    STEVEN D. MERRYDAY
                                                                                UNITED STATES DISTRICT JUDGE
                                                                                                   /

                                                                                DATE: May              2005
        Case 8:04-cr-00563-SDM-TGW Document 120 Filed 05/10/05 Page 2 of 6 PageID 183
A 0 245B (Rev 12/03) Sheet 2 - Imprisonment
Defendant:         JOSE GREGORlO TAPIAS-VERA                                                                Judgment - Page 2 of 6
Case No.:          8:04-cr-563-T-23MAP



                  The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total tern] of ONE HUNDRED THIRTY-FIVE (135) MONTHS as to counts one and two of the Indictment,
both ternis to r u n concurrently.




X The court makes the following recommendations to the Bureau of Prisons: that the defendant be placed in either FCI
Coleman, Florida, FCI Fort Dix, New Jersey, or FCI Jesup. Georgia.



X The defendant is remanded to the custody of the United States hlarshal.
-The defendant shall surrender to the United States Marshal for this district.
          -at   - a.m.1p.m. on -.
          - as notified by the United States Marshal.
- The defendant shall surrender for service of senrence at [he institution designa(ed by tl~cBureau of Prisons.

          - before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.



                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                 to

at                                                                        , with a certified copy of this judgment.




                                                                                         United States Marshal

                                                                        By:
                                                                        Deputy Marshal
        Case 8:04-cr-00563-SDM-TGW Document 120 Filed 05/10/05 Page 3 of 6 PageID 184
A 0 245B (Rev. 12/03) Sheet 3 - S ~ p e ~ i S Release
                                              ed
Defendant:          JOSE GREGORIO TAPIAS-VERA                                                               Judgment - Page 3of 6
Case No.:           8:04-cr-563-T-23MAP

                                                        SUPERVISED RELEASE
        Upon release from imprisonment, the defendant shall be on supervised release for a tern1 of SIXTY (60) MONTHS as to
counts one and two of the Indictment, both terms to r u n concurrently.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from rhe custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state. or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. § 921.

          The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
          controlled substance. Based on the probation officer's delermination that additional drug urinalysis is necessary, the Court
          authorizes random drug testing not to exceed 104 tests per year.

          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

           If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance
           with the Schedule of Payments sheet of this judgment.

           The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
           conditions on the attached page.
                                           STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of thc court or probation officer:

           the defendant shall rcport to the probation officer and shall submit a truthful and complete written report within the first five days
           of each month:
           the defendant shall answcr truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defcndant shall support his or her dependents and meet other family rcsponsibilitics:

           the defendant shall work regularly at a lawful occupation. unless excused by thc probation officer for schooling. training, or other
           acceptable reasons:
           the defendant shall notify the probation officer at least ten days prior to any changc in residence or employment:

           the dcfcndant shall refrain from excessive use of alcohol and shall not purchase, posscss. use, distribute, or administer any
           controlled substance or any paraphcmalia related to any controlled substances, except as prescribed by a physician:
           the defendant shall not frequent placcs whcrc controlled substances are illegally sold. used, distributed, or administcrcd;
           the defendant shall not associate with any persons cngaged in criminal activity and shall not associate with any person convicted
           of a felony. unless granted permission to do so by the probation officer;
           the defendant shall pcrnlit a probation officer to visit him or her at any timc at homc or elsewhere and shall permit confiscation of
           any contraband observed in plain view of the probation officer:

           the defendant shall notify the probation officer within seventy-hvo hours of bcing arrcsted or questioned by a law enforcement
           officer;
           the defendant shall not enter into any agreement to act as an informer or a special agcnt of a law enforcement agency without the
           permission of thc court:
           as directed by the probation officer, the defendant shall notifythird parties ofrisks that may be occasioncd by thc dcfendant's criminal
           record or personal history or characteristics and shall permit the probation officcr to make such notifications and to confirm the
           defendant's compliance with such notification requiremcnt.
       Case 8:04-cr-00563-SDM-TGW Document 120 Filed 05/10/05 Page 4 of 6 PageID 185
A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release

Defmdant:         JOSE GREGORIO TAPIAS-VERA                                                           Judgment - Page 4 of 6
Case No. :        8:Wcr-563-T-23hdAP
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendanr shall also comply with the following additional conditions af supervised release:

-
X        If the defendant is deported, he shall not re-enter the United Slates without the express permission of the appropriate
         governmental authority.
       Case 8:04-cr-00563-SDM-TGW Document 120 Filed 05/10/05 Page 5 of 6 PageID 186
A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

 Defendant:        JOSE GREGORIO TAPIAS-VERA                                                        Judgment - Page 5 of 6
 Case No.:         8:M-cr-563-T-23MAP

                                         CRIMINAL MOh2TARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of paynlents on Sheet 6.
                            Assessment                         -
                                                               Fine                        Total Restitution

         Totals:            $200.00                            $ waived                    $


-        The deternlination of restitution is deferred until -.         An Anletlded Jrtdgn~enrin a Crit~~it~al
                                                                                                            Case ( A 0 245C) will
         be entered after such determination.
-        The defendant must make restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approxin~atelyproportioned payment, unless
         specified otherwise in the priority order orpercentage pa ent column below. However, pursuant to 18 U.S.C. 5
         3664(i), all non-federal victims nlust be p a ~ dbefore the g t e d States.
                                                                                                             Priority Order or
                                                *Total                     Amount of                         Percentage of
 Name of Pavee                                Amount of Loss            Restitution Ordered                  Payment




                            Totals:          L                          $


 -       Restitution amount ordered pursuant to plea agreement $
 -       The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 4 3612(f). All of the payment options on Sheet
         6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
-        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        -          the interest requirement is waived for the - fine     - restitution.
        -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha rers 109A. 110, 1lOA, and 113A of Title 18 for the offenses
                                                                   f
committed on or after September 13, 1994, but before April 23, 1 96.
        Case 8:04-cr-00563-SDM-TGW Document 120 Filed 05/10/05 Page 6 of 6 PageID 187
A 0 245B (Rev 12/03) Sheet 6 - Schedule of Paymenrs

Defendant:        JOSE GREGORIO TAPIAS-VERA                                                Judgment - Page 6of 6
Case No.:         8:04-cr-563-T-23MAP


                                                 SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

         -
         X Lump sum payment of $ 200.00 due immediately, balance due
                            -not later than                   , Or

                            -in accordance - C, - D, - E or - F below; or
         -        Payment to begin immediately (may be combined with -C, -D, or -F below); or
         -        Payment in equal                 (e.g ., weekly, monthly, quarterly) installments of $             over a
                  period of          (e.g., months or years), to commence               days (e.g., 30 or 60 days) after the
                  date of this judgment; or
         -        Payment in equal                (e.#., weekly, monthly, quarterly) installments of $             over a
                  period of             , (e.g., mon 1s or years) to commence                   (e.g. 30 or 60 days) after
                  release from imprisonment to a term of supervision; or
         -        Payment during the term of supervised release will commence within                         (e.g.. 30 or
                  60 days) after release from inlprisoment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
         -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of                            payment of criminal
          penalties is due during im risonment. All criminal monetary penalties,                                    made through the
mOnetaP                                 F
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the clerk o                     e court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Narnes and Case Numbers (including defendant number). Total Amount. Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment. (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution. (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
